                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF IOWA
                                      EASTERN DIVISION


 JONATHAN DAVIS and ALEXANDER                           CIVIL ACTION NO. _____________
 HOLMES,
                                                     Black Hawk County Case No. LACV142246
            Plaintiffs,

 v.
                                                      DEFENDANTS’ NOTICE OF REMOVAL
 J & L INVESTMENTS, INC. d/b/a
 McDONALDS; JOHN FREYBERGER;
 SCOTT AMES; and JEDIDIAH KEA,
 Individually and in their Corporate Capacities,

            Defendants.


           PLEASE TAKE NOTICE that Defendants J & L Investments, Inc. d/b/a McDonalds; John

Freyberger; Scott Ames; and Jedidiah Kea, Individually and in their Corporate Capacities,

(hereinafter “Defendants”), pursuant to 28 U.S.C. §§ 1331, 1441(a), (c), and 1446, file this Notice

of Removal Based on a Federal Question, to remove to the United States District Court for the

Northern District of Iowa an action initiated against them in the Iowa District Court for Black

Hawk County. Removal of this action is based on the following:

           1.      Plaintiffs Jonathan Davis (“Davis”) and Alexander Holmes (“Holmes”) (hereinafter

collectively “Defendants”) filed an action in the Iowa District Court for Black Hawk County, Iowa,

on or around March 9, 2021. The claims included federal claims pursuant to Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000e et seq., and the Civil Rights Act of 1981, 42 U.S.C. § 1981

et seq.




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       2.      Pursuant to 28 U.S.C. § 1446(a) and LR 81(a), copies of all pleadings and orders

filed in the state court case are attached hereto as Exhibit A. Defendants’ Statement Pursuant to

Local Rule 81(a) is attached hereto as Exhibit B.

       3.      Defendants have furnished a copy of this Notice of Removal to the Clerk of the

District Court of Black Hawk County and to counsel for Plaintiffs.

                              Basis of Removal – Federal Question

       4.      This action may be properly removed pursuant to 28 U.S.C. § 1331 because there

is a federal question under both the Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e

et seq., and the Civil Rights Act of 1981, 42 U.S.C. § 1981 et seq.

       5.      Plaintiffs’ assertion of claims under the specified federal laws allows for removal

of this action pursuant to federal question jurisdiction. See 28 U.S.C. § 1331, § 1441(a), (c).

                                               Venue

       6.      The Northern District of Iowa is the federal district embracing Black Hawk County,

where the suit was originally filed. Venue, therefore, is appropriate in this district, pursuant to 28

U.S.C. § 1441(a).

       7.      Pursuant to 28 U.S.C. § 1446(d), the undersigned counsel certifies that a copy of

this Notice of Removal will be served on counsel for Plaintiffs and filed promptly with the Clerk

of the Iowa District Court for Black Hawk County. A copy of the written notice to be provided to

the Plaintiffs and the Iowa District Court for Black Hawk County is attached hereto as Exhibit C.

       8.      By filing this Notice of Removal, Defendants do not waive any defenses that may

be available to them and expressly reserve all such defenses, objections, and motions.

       WHEREFORE, Defendants, J & L Investments, Inc. d/b/a McDonalds; John Freyberger;

Scott Ames; and Jedidiah Kea, Individually and in their Corporate Capacities, pray that the action


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currently pending against them in the Iowa District Court for Black County be removed to this

Court, and that this Court assume full jurisdiction over the causes herein as provided by law.




                                             /s/Margaret A. Hanson
                                             Jo Ellen Whitney, AT008538
                                             Margaret A. Hanson, AT0011866
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                                             ATTORNEYS FOR DEFENDANTS

Copy to:

 Gregory F. Greiner                                                      PROOF OF SERVICE
 5550 Wild Rose Lane, Ste. 400                      The undersigned certifies that the foregoing instrument was
 West Des Moines, IA 50266                          served upon all parties to the above cause to each of the
 Telephone: 515-650-4399                            attorneys of record herein at their respective addresses disclosed
                                                    on the pleadings on April 12, 20201, by:
 Facsimile: 515-650-4388
 Email: greg@recovery-lawyers.com                               US Mail                       FAX
                                                                Hand Delivered                Other
                                                                Email                         CM/ECF
 ATTORNEY FOR PLAINTIFFS
                                                    Signature: /s/Margaret A. Hanson




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